Case 2:85-cv-04544-DMG-AGR Document 418 Filed 04/19/18 Page 1 of 4 Page ID #:16410




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15
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17   JENNY LISETTE FLORES; et al.,             Case No. CV 85-4544-DMG
18           Plaintiffs,
19                                             STIPULATION FOR EXTENSION
                  v.                           OF HEARING DATE AND
20
                                               BRIEFING SCHEDULE;
21   ERIC H. HOLDER, JR., Attorney
22
     General of the United States; et al.,     [Proposed] Order
23
             Defendants.
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1          On April 16, 2018, Plaintiffs filed a Motion to Enforce in the above-

2    captioned case (ECF No. 409). Plaintiffs set that motion for hearing before the
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     Court on May 18, 2018. The parties have conferred, and stipulate to continue the
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5    hearing date for Plaintiffs’ motion, and to set the briefing schedule as follows:
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                • Defendants’ opposition to be filed on or before May 25, 2018.
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8               • Plaintiffs’ reply to be filed on or before June 15, 2018.
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                • Hearing reset for June 29, 2018.
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11          Good cause exists for the Court to grant the parties’ request. Plaintiffs’
12   motion contains accounts by approximately forty declarants, and Defendants need
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     time to review and evaluate each of Plaintiffs’ claims and prepare a response. In
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15   addition, counsel for Defendants has multiple briefing deadlines over the next
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     month, and requires the additional time to confer with her clients and prepare and
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18   file Defendants’ response. Counsel for Plaintiffs also have a conflict on intervening
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     hearing dates, making June 29, 2018 the preferred hearing date that works for both
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     parties. Counsel for Defendants has conferred with counsel for the Plaintiffs who

22   join in this Stipulation.
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1    DATED: April 19, 2018            /s/ Carlos Holquin (with permission)__
                                      CARLOS HOLQUIN
2                                     Center for Human Rights
3                                            and Constitutional Law
4
                                      Attorney for Plaintiffs
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6
     DATED: April 19, 2018            CHAD A. READLER
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15                                    /s/ Sarah B. Fabian
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1                              CERTIFICATE OF SERVICE

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           I hereby certify that on April 19, 2018, I served the foregoing pleading on all
3
4    counsel of record by means of the District Clerk’s CM/ECF electronic filing
5    system.
6
7
8                                                 /s/ Sarah B. Fabian
9                                                 SARAH B. FABIAN
                                                  U.S. Department of Justice
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                                                  District Court Section
11                                                Office of Immigration Litigation
12
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